BERKELEY COUNTY SCHOOL DISTRICT
FY 201 7-201 3
BOTH OPEN & PAID VOUCHERS
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Percentage of fees to insurance costs ZQ|

 

 

